Case: 2:15-cv-03115-MHW-EPD Doc #: 34 Filed: 03/09/18 Page: 1 of 2 PAGEID #: 127



                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION


TRICIA J. ZIMMERMAN,                             :

               Plaintiff,                        :

       v.                                        :          Case No. 2:15-cv-3115

JENNIFER KNIGHT, et. al.,                        :          Judge Watson

               Defendants.                       :          Magistrate Judge Deavers


JEFFREY LAZAR,                                   :

               Plaintiff,                        :

       v.                                                   Case No. 2:16-cv-195

JENNIFER KNIGHT, et. al.,                        :          Judge Watson

               Defendants.                                  Magistrate Judge Deavers


                        NOTICE OF SUBSTITUTION OF COUNSEL

       Please take notice that Pamela J. Gordon (0030794), Assistant City Attorney, hereby enters

her appearance as counsel in substitution of Wendy S. Kane (0064857), Assistant City Attorney, in

the above captioned case. Cynthia L. Peterson (0065133), Assistant City Attorney, previously co-

counsel, hereby enters her notice of appearance as lead counsel for Defendants City of

Columbus, Lt. Bela Berhardt, Sgt. David Harrington, Sgt. Jack King, Jr., Sgt. Jeffrey

Shuttleworth, Cmdr. Jennifer Knight, Cmdr. Mark Lang, Lt. Roderick Wittich, and Deputy Chief

Thomas Quinlan.




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Case: 2:15-cv-03115-MHW-EPD Doc #: 34 Filed: 03/09/18 Page: 2 of 2 PAGEID #: 128



                                           Respectfully submitted,
                                           CITY OF COLUMBUS, DEPARTMENT OF LAW
                                           ZACH KLEIN, CITY ATTORNEY
                                            /s/ Pamela J. Gordon
                                           Pamela J. Gordon (0030794)
                                           Cynthia Peterson (0065133)
                                           Assistant City Attorneys
                                           77 North Front Street, 4th Floor
                                           Columbus, Ohio 43215
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                                           Attorneys for Defendants


                                  CERTIFICATE OF SERVICE

       This will certify that a copy of the foregoing Notice of Substitution of Counsel was sent by

electronic and regular U.S. Mail to John C. Camillus, counsel for Plaintiff, at

jcamillus@camilluslaw.com and Law Offices of John Camillus, P.O. 141410, Columbus, Ohio

43214 and to Zachary Swisher, counsel for Plaintiff, at zach@law153group.com and Sybert, Rhoad,

Lackey & Swisher, LLC, 153 South Liberty Street, Powell, Ohio 43065 this 9th day of March 2018.



                                                /s/ Pamela J.Gordon
                                               Pamela J. Gordon
                                               Assistant City Attorney




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